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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                       Plaintiffs,                                     8:15CR343

       vs.
                                                                        ORDER
DIONTE DORTCH,

                       Defendant.


       This matter is before the court on defendant's MOTION TO EXTEND DATE FOR
FILING OF PRETRIAL MOTIONS [154]. For good cause shown, I find that the motion should
be granted. The defendant will be given an approximate 122-day extension. Pretrial Motions
shall be filed by August 25, 2016.
       IT IS ORDERED:
       1.      Defendant's MOTION TO EXTEND DATE FOR FILING OF PRETRIAL
MOTIONS [154] is granted. Pretrial motions shall be filed on or before August 25, 2016.
       2.      The ends of justice have been served by granting such motion and outweigh the
interests of the public and the defendant in a speedy trial. The additional time arising as a result
of the granting of the motion, i.e., the time between today’s date and August 25, 2016, shall be
deemed excludable time in any computation of time under the requirement of the Speedy Trial
Act for the reason defendant's counsel required additional time to adequately prepare the case,
taking into consideration due diligence of counsel, and the novelty and complexity of this case.
The failure to grant additional time might result in a miscarriage of justice. 18 U.S.C. §
3161(h)(8)(A) & (B).


       Dated this 8th day of April, 2016

                                                     BY THE COURT:
                                                     s/ F.A. Gossett, III
                                                     United States Magistrate Judge
